
CONFESSION OF ERROR
Appellant, David Chambers, appeals an order placing appellant on probation and requiring the payment of restitution as a condition of probation.
Appellant contends, and the State concedes, that portions of the probation order must be stricken because they impermissi-bly delegate the manner of payment of the restitution to be determined by the probation officer. See Milloway v. State, 567 So.2d 1073 (Fla. 3d DCA 1990); Williams v. State, 556 So.2d 799 (Fla. 4th DCA 1990).
Accordingly, we reverse and remand appellant’s sentence with directions that those portions of the probation order which delegate the manner of payment of restitution be stricken.
Reversed and remanded.
